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                        UNITED STATES DISTRICT COURT
                                             for the
                                   Western District of Kentucky
                                       Louisville Division

 Ronald Chad Allen                        )
       Plaintiff                          )
                                          )
 v.                                       )             Case No.        3:17-cv-00211-DJH
                                          )
 Equifax Information Services, LLC et al. )
       Defendants                         )
                                          )

                      NOTICE OF SETTLEMENT AS TO DEFENDANT
                        FORT KNOX FEDERAL CREDIT UNION

        Please take notice that Plaintiff, Ronald Chad Allen, has reached a settlement with

 Defendant Fort Knox Federal Credit Union in this case. Once the settlement is final, the

 parties will file a joint stipulation of dismissal with prejudice. This Notice does not affect,

 and is not intended to affect, Plaintiff’s claims against any other Defendant in this action.



                                        Respectfully Submitted,

                                        /s/ James H. Lawson
                                        James H. Lawson
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                                        Louisville, KY 40207
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                                        Counsel for Plaintiff
                                        Ronald Chad Allen
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                                  CERTIFICATE OF SERVICE

         This is to certify that on this 30th day of March, 2018, I electronically filed the foregoing
 Notice of Settlement via U.S. Mail via the Court’s CM/ECF system, which will send a notice of
 electronic filing to all counsel of record.

                                        /s/ James H. Lawson
                                        Counsel for Plaintiff
                                        Ronald Chad Allen




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